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                 UNITED STATES DISTRICT COURT
                 WESTERN DISTRICT OF MICHIGAN
                      SOUTHERN DIVISION
                           ---------
UNITED STATES OF AMERICA,

                     Plaintiff,

             vs.

NATHON JAMES ZINK,

                     Defendant.
                                       /              INDICTMENT

      The Grand Jury charges:


                                     COUNT 1
                       (Mailing a Threatening Communication)

      On or about August 20, 2020, in Van Buren County, in the Southern Division

of the Western District of Michigan, and elsewhere,

                                  NATHON JAMES ZINK

knowingly and willfully caused to be delivered by the United States Postal Service

according to the directions thereon, a communication addressed to another person

and containing a threat to injure the person of the addressee and another, for the

purpose of making a threat and knowing that the communication would be viewed

as a threat. Specifically, the communication was addressed to K.B. at a known

address in Paw Paw, Michigan.

18 U.S.C. § 876(c)
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                                     COUNT 2
            (Mailing a Threatening Communication to a Federal Employee)

      On or about September 3, 2020, in Kalamazoo County, in the Southern

Division of the Western District of Michigan, and elsewhere,

                             NATHON JAMES ZINK

knowingly and willfully caused to be delivered by the United States Postal Service

according to the directions thereon, a communication addressed to another person

and containing a threat to injure the person of the addressee and another, for the

purpose of making a threat and knowing that the communication would be viewed

as a threat. Specifically, the communication was addressed to the United States

District Court at 107 Federal Building, 410 W. Michigan Ave. in Kalamazoo,

Michigan.

18 U.S.C. § 876(c)
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                                    COUNT 3
                         (False Information and Hoaxes)

      On or about September 3, 2020, in Kalamazoo County, in the Southern

Division of the Western District of Michigan, and elsewhere,

                              NATHON JAMES ZINK

engaged in conduct with the intent to intentionally convey false and misleading

information, under circumstances where such information may reasonably have

been believed, and where such information indicated that an activity had taken,

was taking, and would take place that would constitute a violation of Chapters 10

and 113B of Title 18, United States Code. Specifically, ZINK sent in the United

States Mail a handwritten letter addressed to the U.S. District Court in Kalamazoo,

Michigan and falsely stated that the letter contained the “chemical agent . . .

anthrax” and that by the time the letter was read “it will be to late for you have

already came into contact with the chemical powder.”

18 U.S.C. § 1038(a)(1)



                                              A TRUE BILL


                                              _______________________________
                                              GRAND JURY FOREPERSON

ANDREW BYERLY BIRGE
United States Attorney


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LAUREN F. BIKSACKY
Assistant United States Attorney
